Case 3:19-bk-30822       Doc 183     Filed 05/28/20 Entered 05/28/20 11:15:35              Desc Main
                                    Document      Page 1 of 6




                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION AT DAYTON

 In Re:                                                :
                                                       :       Chapter 7 (Involuntary)
          TAGNETICS, INC.                              :
                                                       :       Case No. 3: 19-bk-30822
                                                       :
                                                       :       Judge Guy R. Humphrey
                        Alleged Debtor                 :
                                                       :


               MOTION FOR RELIEF FROM AUTOMATIC STAY FOR
               LEASEHOLD AT 3415 U.S. RTE. 36, PIQUA, OHIO 45356,
              WITH COMBINED NOTICE TO ALL INTERESTED PARTIES.



                                      NOTICE OF MOTION

 Piqua Piqua Troy Investments, LLC has filed papers with the court to obtain relief from the
 automatic stay pertaining to the Alleged Debtor’s leasehold interest contained within the real
 property located at 3415 U.S. 36, Piqua, OH 45356, in Brown Township, Miami County, Ohio in
 order to evict Alleged Debtor and collect past due rent.

 Your rights may be affected. You should read these papers carefully and discuss them with your
 attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may wish to
 consult one.

 If you do not want the court to grant the relief sought in the motion, then on or before twenty-one
 (21) days from the date set forth in the certificate of service for the motion, you must file with
 the court a response explaining your position by mailing your response by regular U.S. mail to: Clerk
 of the U.S. Bankruptcy Court, 120 West Third Street, Dayton, OH 45402-1819 OR your attorney
 must file a response using the court’s ECF System.

 The court must receive your response on or before the above date.
Case 3:19-bk-30822       Doc 183      Filed 05/28/20 Entered 05/28/20 11:15:35       Desc Main
                                     Document      Page 2 of 6



 You must also send a copy of your response either by 1) the court’s ECF System or by 2) regular
 U.S. mail to:

 Bryan K. Stewart
 Attorney for Movant
 Stewart and Stewart Lawyers, Ltd.                   .
 104 West Main Street
 Tipp City, OH 45371

 U.S. Trustee
 By: Jeremy Shane Flannery, Esq.
 Asst. US Trustee (Day)
 Office of the US Trustee
 170 North High Street
 Suite 200
 Columbus, OH 43215-2417

 Christopher L. Wesner, Esq.
 Miller, Luring, Venters & Wesner Co., LPA
 Attorney for Kayser Ventures, Ltd. and S-Tek, Inc., Petitioning Creditors
 314 W. Main St.
 Troy, OH 45373

 Stephen B. Stern, Esq.
 Attorney for Tagnetics, Inc., alleged Debtor
 238 West Street
 Annapolis, MD 21401

 Ronald E. Early
 6429 Winding Tree Dr.
 New Carlisle, OH 45344
 Petitioning Creditor

 Jonathan Hager
 842 Paint Bank Road
 Salem, VA 24153
 Petitioning Creditor

 Kenneth W. Kayser
 P.O. Box 115
 Catawba, VA 24070
 Petitioning Creditor




                                           Page 2 of 6
Case 3:19-bk-30822        Doc 183     Filed 05/28/20 Entered 05/28/20 11:15:35              Desc Main
                                     Document      Page 3 of 6



 Robert Strain
 427 Artell St.
 Marcengo, IL 60152
 Petitioning Creditor

 S-Tek, Inc.
 1100 Wayne St.
 Suite 5000
 Troy, OH 45373
 Petitioning Creditor

 Tagnetics, Inc.
 3415 U.S. Rte. 36
 Piqua, OH 45356
 Alleged Debtor


 If you or your attorney do not take these steps, the court may decide that you do not oppose the relief
 sought in the motion and may enter an order granting the relief without further hearing or notice.


                                                        STEWART and STEWART LAWYERS, Ltd.


 Date of Issuance: May 28, 2020                         By: /s/Bryan K. Stewart
                                                        Bryan K. Stewart, #0042122
                                                        Attorney for Creditor/Movant
                                                        Piqua Troy Investments, LLC

 ________________________________________________________________________________

                                    MOTION
 _______________________________________________________________________________

        Pursuant to 11 U.S.C. § 362, Piqua Troy Investments, LLC (hereafter “Piqua Troy”), an Ohio

 Limited Liability Company in good standing with Ohio Secretary of State, by and through counsel,

 respectfully moves for an Order granting it relief from stay in the above captioned case for the

 reasons set forth in the accompanying memorandum and Exhibits “1", “2", “3" and “4".

                                                        Respectfully submitted,


                                              Page 3 of 6
Case 3:19-bk-30822       Doc 183     Filed 05/28/20 Entered 05/28/20 11:15:35             Desc Main
                                    Document      Page 4 of 6




                                                       STEWART and STEWART LAWYERS, Ltd.


                                                       By: /s/Bryan K. Stewart
                                                       Bryan K. Stewart, #0042122
                                                       Attorney for Creditor/Movant
                                                       Piqua Troy Investments, LLC
                                                       104 West Main Street
                                                       Tipp City, Ohio 45371
                                                       (937) 506-8805; fax (937) 506-8807
                                                       Email: bryan@stewartlawyers.com


                                 MEMORANDUM IN SUPPORT

        Piqua Troy respectfully asserts that an Order granting it relief from the automatic stay is

 appropriate due to the following grounds:

        1.      Petitioning Creditors filed an involuntary petition for relief under Chapter 7 of the

 bankruptcy code on or about October March 19, 2019. Alleged Debtor, Tagnetics, Inc., holds a

 leasehold interest to the following described real property:

        Situate in the Township of Brown, County of Miami, State of Ohio and being 56 ft.
        x 84ft (approx. 4,704 sq. ft.) located at the North West section of the Warehouse
        located at 3416 U.S. Rte. 36, Piqua, Ohio 45356.


 A copy of the lease in which Alleged Debtor acquired its leasehold interest is attached hereto as

 Exhibit “1" and is incorporated herein.

        2.      Piqua Troy is the fee simple owner and landlord of the leasehold premises described

 in paragraph 1 herein. A copy of the deed evidencing Piqua Troy’s fee simple ownership is attached

 hereto as Exhibits “2" and is incorporated herein.




                                             Page 4 of 6
Case 3:19-bk-30822        Doc 183     Filed 05/28/20 Entered 05/28/20 11:15:35              Desc Main
                                     Document      Page 5 of 6



        3.      On May 1, 2020, there was due Piqua Troy from Alleged Debtor under said Lease the

 sum of Sixty One Thousand Eighty Eight Dollars ($61,088.00) for unpaid rent and expenses from

 October 1, 2018 through May 31, 2020, for which sums Piqua Troy has demanded but remains

 unpaid. Alleged Debtor shall continue to owe monthly rent in the amount of Two Thousand Nine

 Hundred Fifty Two Dollars ($2,952.00) per month and additional charges per the lease until

 possession of the leasehold premises is restored to Piqua Troy. A copy of the rent/expenses due

 statement for said leasehold premises is attached hereto as Exhibit “3" and incorporated herein.

        4.      Pursuant to 11 U.S.C. § 362 (d) (1), due to the continuing accumulation of rent,

 Piqua Troy respectfully asserts that its interests are not adequately protected.

        5.      Additionally, Piqua Troy contends that the Alleged Debtor is unable to make

 adequate protection payments to Piqua Troy, and therefore, Piqua Troy is entitled to relief from the

 automatic stay as requested.

        6.      Piqua Troy respectfully asserts that sufficient cause exists to waive the

 requirement of Bankruptcy Rule 4001(a)(3), allowing an Order to be effective upon this Honorable

 Court’s signature.

        7.      This Motion does not affect the rights of any potential Chapter 7 Trustee.

        WHEREFORE, Piqua Troy Investments, LLC requests this Court grant it relief from the

 automatic stay to enable it to pursue its remedies under state law with respect to the real property

 leasehold as described herein.

 .                                                     Respectfully submitted,

                                                       STEWART and STEWART LAWYERS, Ltd.




                                             Page 5 of 6
Case 3:19-bk-30822                 Doc 183         Filed 05/28/20 Entered 05/28/20 11:15:35                                 Desc Main
                                                  Document      Page 6 of 6



                                                                           By: /s/Bryan K. Stewart
                                                                           Bryan K. Stewart, #0042122
                                                                           Attorney for Creditor Piqua Troy Savings
                                                                           & Loan Association
                                                                           104 West Main Street
                                                                           Tipp City, Ohio 45371
                                                                           (937) 506-8805; fax (937) 506-8807
                                                                           Email: bryan@stewartlawyers.com


                                              CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing Notice/Motion for Relief from Automatic Stay
 was served (I) electronically on the date of filing through the Court’s ECF System on all ECF
 participants registered in this case at the email address registered with the court and (ii) by ordinary
 U.S. Mail on May 28, 2020 addressed to:

 Ronald E. Early                                                           Jonathan Hager
 6429 Winding Tree Dr.                                                     842 Paint Bank Road
 New Carlisle, OH 45344                                                    Salem, VA 24153
 Petitioning Creditor                                                      Petitioning Creditor

 Kenneth W. Kayser                                                         Robert Strain
 P.O. Box 115                                                              427 Artell St.
 Catawba, VA 24070                                                         Macengo, IL 60152
 Petitioning Creditor                                                      Petitioning Creditor

 S-Tek, Inc.                                                               Tagnetics, Inc.
 1100 Wayne St.                                                            3415 U.S. Rte 36
 Suite 5000                                                                Piqua, OH 45356
 Troy, OH 45373                                                            Alleged Debtor
 Petitioning Creditor



                                                                           /s/Bryan K. Stewart
                                                                           Bryan K. Stewart, #0042122
                                                                           Attorney for Creditor Piqua Troy Investments,
                                                                           LLC


 C:\Users\Public\Active Clients\L - P\Piqua Troy Investments, LLC\Relief from Stay\Motion for Relief from Stay 052720.wpd




                                                             Page 6 of 6
